        Case 1:99-cr-05269-OWW Document 472 Filed 08/05/08 Page 1 of 2


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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    ANTHONY LEE TOLIVER,              )       No. CV-F-05-694 OWW
                                       )       (No. CR-F-99-5269 OWW)
10                                     )
                                       )       MEMORANDUM DECISION AND
11                    Petitioner,      )       ORDER DENYING PETITIONER
                                       )       TOLIVER'S MOTION TO VACATE,
12             vs.                     )       SET ASIDE OR CORRECT
                                       )       SENTENCE PURSUANT TO 28
13                                     )       U.S.C. § 2255 AND DIRECTING
     UNITED STATES OF AMERICA,         )       ENTRY OF JUDGMENT FOR
14                                     )       RESPONDENT
                                       )
15                    Respondent.      )
                                       )
16                                     )

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18        On June 1, 2005, Petitioner Anthony Lee Toliver filed a

19   motion to vacate, set aside or correct sentence pursuant to 28

20   U.S.C. § 2255.

21        Petitioner asserts that his sentence is unconstitutional

22   because it was based on facts not found by the jury beyond a

23   reasonable doubt in violation of the Sixth Amendment and, because

24   the jury did not determine any specific amount of powder cocained

25   involved in the conspiracy, the Court had no basis to impose any

26   sentence on Petitioner.

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        Case 1:99-cr-05269-OWW Document 472 Filed 08/05/08 Page 2 of 2


1          Petitioner's motion is DENIED.      Petitioner's claims were

2    addressed by the Ninth Circuit on direct appeal and denied.          See

3    United States v. Toliver, 351 F.3d 423 (9th Cir.2003), cert.

4    denied, 541 U.S. 1079 (2004).      To the extent Petitioner bases his

5    Section 2255 motion on Blakely v. Washington, 542 U.S. 296

6    (2004), and United States v. Booker, 543 U.S. 220 (2005),

7    Plaintiff's claims are without merit.       Neither Blakely nor Booker

8    are retroactive to cases on collateral review.        Schardt v. Payne,

9    414 F.3d 1025 (9th Cir.2005); United States v. Cruz, 423 F.3d

10   1119 (9th Cir.2005), cert. denied, 546 U.S. 1155 (2006).

11         For the reasons stated:

12         1.     Petitioner Anthony Lee Toliver’s motion to vacate, set

13   aside or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED.

14         2.     The Clerk of the Court is directed to enter JUDGMENT FOR

15   RESPONDENT.

16         IT IS SO ORDERED.

17   Dated:     August 1, 2008             /s/ Oliver W. Wanger
     668554                           UNITED STATES DISTRICT JUDGE
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